           Case 5:21-cv-00844-XR Document 28 Filed 09/21/21 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,               §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §
                                                         Case No. 5:21-cv-00844-XR
                                                   §
 GREGORY W. ABBOTT, et al.,                        §
                                                   §
         Defendants.                               §

      UNOPPOSED MOTION TO SET DEADLINE FOR RESPONSIVE PLEADING

        Defendants Abbott, Esparza, and Paxton (the “State Defendants”) respectfully request that

the Court set their deadline to answer or otherwise respond to Plaintiffs’ Complaint as October 25,

2021. Four cases now before this Court challenge Senate Bill 1 (“SB1”). The State Defendants in these

SB1 cases have different response deadlines in different cases, and in particular cases, some of the

individual State Defendants have different response deadlines. The State Defendants request a

uniform response deadline so that they may respond to each lawsuit on the same day and have

sufficient time to prepare their responses. The plaintiffs in each of the SB1 cases pending in this Court

have agreed to a uniform response date of October 25, 2021.

        The State Defendants do not seek this motion for delay, but for good cause. This motion will

not prejudice Plaintiffs who do not oppose the relief requested.




                                                   1
          Case 5:21-cv-00844-XR Document 28 Filed 09/21/21 Page 2 of 3



Date: September 21, 2021             Respectfully submitted.

KEN PAXTON                           PATRICK K. SWEETEN
Attorney General of Texas            Deputy Attorney General for Special Litigation
                                     patrick.sweeten@oag.texas.gov
BRENT WEBSTER                        Tex. State Bar No. 00798537
First Assistant Attorney General
                                     WILLIAM T. THOMPSON
                                     Deputy Chief, Special Litigation Unit
OFFICE OF THE ATTORNEY GENERAL       will.thompson@oag.texas.gov
P.O. Box 12548 (MC-009)              Tex. State Bar No. 24088531
Austin, Texas 78711-2548
Tel.: (512) 463-2100                 ERIC A. HUDSON
Fax: (512) 457-4410                  Senior Special Counsel
                                     eric.hudson@oag.texas.gov
                                     Tex. Bar No. 24059977

                                     KATHLEEN T. HUNKER
                                     Special Counsel
                                     kathleen.hunker@oag.texas.gov
                                     Tex. State Bar No. 24118415
                                     *Application for Admission Forthcoming

                                     LEIF A. OLSON
                                     Special Counsel
                                     leif.olson@oag.texas.gov
                                     Tex. State Bar No. 24032801

                                     /s/ Jeffrey M. White
                                     JEFFREY M. WHITE
                                     Special Counsel
                                     jeff.white@oag.texas.gov
                                     Tex. State Bar No. 24064380

                                     COUNSEL FOR STATE DEFENDANTS




                                       2
          Case 5:21-cv-00844-XR Document 28 Filed 09/21/21 Page 3 of 3



                                 CERTIFICATE OF CONFERENCE

       I certify that counsel for the State Defendants conferred with counsel for Plaintiffs about the
foregoing motion. Plaintiffs do not oppose the relief requested.

                                               /s/ Jeffrey M. White
                                               Jeffrey M. White

                                     CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 21, 2021, and that all counsel of record were served by CM/ECF.

                                               /s/ Jeffrey M. White
                                               Jeffrey M. White




                                                  3
